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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

UNITED STATES OF AMERICA               :
                                       :
v.                                     :       CRIMINAL CASE NO.
                                       :       1:14-CR-00228-AT-AJB
                                       :
JAMES BLOCKER                          :

                        SENTENCING MEMORANDUM

      COMES NOW Defendant James Blocker, by and through undersigned

counsel of record, and files this Sentencing Memorandum. Attached hereto are Mr.

Blocker's statement of responsibility (Exhibit A) and numerous letters of support

from his family and members of the community (Exhibit C).

                                    Introduction

      Mr. Blocker is 39 years old, well-educated and highly skilled. He has no

prior convictions. Mr. Blocker's relationship with his son, Bert, has been strained

as a result of Mr. Blocker's participation in writing the computer code for the

Appbucket online marketplace and maintaining the operation of the Appbucket

computer servers. Also, the stress of facing this case and financial strain greatly

contributed to his marriage to Mary Blocker ending in divorce. While Mr. Blocker

understands that a sentence involving time in custody is likely, he has already



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begun to experience the consequences of his actions personally, professionally, and

financially.

      Mr. Blocker's health has always been a concern, and it will continue to be a

challenge during any time in custody. Exhibit B is a letter from his doctor, Dr.

Sreedevi Guttikonda, describing the risks and challenges that Mr. Blocker faces

with Type 1 diabetes. As a “brittle diabetic,” Mr. Blocker has to monitor his blood

sugar levels constantly and faces many immediate health risks if his condition is

not properly managed. The struggle with health issues caused Mr. Blocker to miss

an excessive number of school days as a teenager and delayed his graduation while

doctors determined his illness. Type 1 diabetes has also caused high blood

pressure and high cholesterol, requiring daily medication to maintain his health.

      Despite facing a potential custodial sentence in this case, Mr. Blocker has

been an active and positive member of his community and strives to be as active as

possible in the life of his son, Bert. He works to be a positive role model for Bert

even as he accepts responsibility for his actions that led him to this point, and

recognizes the effect that those actions have had and will continue to have on his

family.




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                    Calculation of the Infringement Amount

      The written plea agreement states that the infringement amount is

approximately $754,519.21. See plea agreement at ¶ 65. This number “was

determined by calculating the number of times that app was downloaded from

Appbucket and multiplying that number by the retail price of the authentic app.

The infringement amount for the entire case is then calculated by adding the

infringement amounts for each of the individual apps.” Id.

      Calculation of the infringement amount in this case is necessarily

speculative. For lack of a better method of determining actual download numbers,

the Government has relied on spreadsheets located on devices in the custody of

Nicholas Narbone1 and assigned an estimated retail value for each app based on

current list price at other app marketplaces. While Mr. Blocker agrees that this is

the most reliable available method of estimating the number of app downloads and

their approximate retail value, this method results in an estimated amount that may

substantially exceed the actual pecuniary harm to the copyright or trademark

owners.

      Under USSG § 2B5.3, note 5(C), the Court may depart from the sentencing

guidelines where “the method used to calculate the infringement amount is based

1 The idea and purpose for Appbucket originated with Narbone, who is scheduled
  for sentencing on March 15, 2018 at 10:30 AM.

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upon a formula or extrapolation that results in an estimated amount that may

substantially exceed the actual pecuniary harm to the copyright or trademark

owner.” Here, Appbucket did not charge users per app downloaded—users paid a

flat monthly fee to download as many apps as they desired. Users could download

apps freely even if they had no intention of using the app since there was no fee.

      As a result, users would be highly prone to download apps that they

otherwise would not have downloaded if there was a charge. It is also unclear

whether the download numbers taken from Narbone's devices include duplicate

downloads of apps to the same device or to numerous devices owned by the same

user—in that case a user would not need to pay for an app multiple times.

      Thus, owners of the apps did not necessarily lose the revenue reflected in the

value of the apps. People who would not have accessed many of the apps,

downloaded the apps because there was no fee. This argument is bolstered by the

note in the Background section that “the sentences for defendants convicted of

intellectual property offenses should reflect the nature and magnitude of the

pecuniary harm caused by their crimes.” USSG § 2B5.3.

      Finally, it is Counsel's understanding that the apps available on Appbucket

did not alter any functionality relating to banner ads contained within the

downloaded apps. For example, in the legitimate marketplaces for apps, many


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developers receive ongoing revenue from banner ads displayed to app users. Here,

many apps downloaded from Appbucket which contained ads would still have

displayed those ads to users. Since Appbucket did not alter this functionality, the

ad statistics would still have been reported to the ad services, and app owners

would have received compensation for this. This illustrates the speculative nature

of the estimated infringement amount, since (1) it is difficult to correlate each

download to a lost sale, and (2) some app owners likely received ad revenue from

in-app banners displayed to Appbucket users.

                             Lack of Substantial Profit

      According to the Presentence Report at ¶ 14, Narbone received $61,763.48

in subscription payments through Paypal between August 20, 2010 and December

17, 2010. He received an additional $20,596.00 in subscriptions through Digital

River between December 18, 2010 and July 26, 2011. As to Mr. Blocker, however,

Paypal records reveal that Narbone paid approximately $7,222 to him,2 and this is

all Mr. Blocker ever received for his part in this offense. It appears that Narbone

controlled the proceeds of the conspiracy and kept most of it for himself even

though Mr. Blocker was an authorized user of the Paypal account—thus, Mr.

Blocker's access was limited to an administrative and technical support role.


2 Presentence Report at ¶ 26.

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                       Imposition of a Reasonable Sentence

      Here, a sentence of 18 months is most appropriate. In imposing a sentence

the Court must first properly calculate the sentencing guidelines. United States v.

Talley, 431 F.3d 784, 786 (11th Cir. 2005) (abrogated on other grounds), Rita v.

United States, 551 U.S. 338 (2007). Secondly, the Court must consider the

statutory factors outlined in 18 U.S.C. § 3553 to determine a reasonable sentence.

(Id.). These factors include:

      (1) the nature and circumstances of the offense and the history and
      characteristics of the defendant; Mr. Blocker has no criminal history
      and is unlikely to re-offend, as this will be his first time serving
      any time in custody and he has been greatly affected by the
      consequences for himself and his family.
      (2) the need to reflect the seriousness of the offense, to promote
      respect for the law, and to provide just punishment for the offense; 18
      months is a significant custodial sentence that will promote
      respect for the law; even a software developer involved in
      infringing activity will be punished with federal prison time.
      (3) the need for deterrence; Mr. Blocker himself is greatly
      deterred from re-offending already, and any custodial sentence
      will serve to deter others.
      (4) the need to protect the public;
      (5) the need to provide the defendant with needed educational or
      vocational training or medical care; Mr. Blocker's health will
      require significant monitoring, and a longer sentence will increase
      the risk of catastrophic health issues.
      (6) the kinds of sentences available; the Court should consider
      alternative sentences such as supervised release or community
      service directing Mr. Blocker to teach computer classes to those in
      need.
      (7) the Sentencing Guidelines range; the guidelines have been
      presented, and the estimated infringement amount overstates the

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      pecuniary harm to copyright holders. Under these circumstances,
      the Court should not rely on the guidelines.
      (8) pertinent policy statements of the Sentencing Commission; the
      Commission has authorized departure under USSG § 2B5.3.
      (9) the need to avoid unwanted sentencing disparities; addressed
      in further detail below.
      (10) the need to provide restitution to victims; revenue loss to
      copyright owners is difficult to determine where an app download
      does not necessarily correlate to a lost sale.

      Regarding the need to avoid unwanted sentencing disparities, the Court

should consider the sentences given to defendants who operated similar app

marketplaces such as SnappzMarket.

      I. In the Northern District of Georgia, defendant Kody Jon Peterson was

sentenced to 12 months and 1 day as the creator of SnappzMarket, a conspiracy

involving distribution of over one million copyrighted apps with a total retail value

of over $1.7 million. Criminal Information No. 1:14-CR-025.

      II. Also in this District, defendant Joshua Taylor was sentenced to 16 months

for providing the computer servers necessary to host SnappzMarket. Criminal

Indictment No. 1:14-CR-0229.

      III. On the other hand, defendant Scott Walton was sentenced to 46 months

for handling public relations for SnappzMarket, searching for and downloading

copies of copyrighted apps, burning those to digital media, and mailing them to

codefendant Gary Edwin Sharp II (whose sentencing is still pending). Criminal


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Indictment No. 1:14-CR-0229. By contrast, however, the infringement amount in

the SnappzMarket case exceeded $1.7 million, more than double the estimated

amount in this case.

      IV. Sentencing for various other defendants is pending, including Nicholas

Narbone, Thomas Pace, Thomas Allen Dye, and Gary Edwin Sharp II.

      A sentence of 18 months will best satisfy these factors. Mr. Blocker is

unlikely to recidivate, as he has had no issues whatsoever while on pretrial release

since 2014. Since he is 39 years old with zero criminal history points, his

likelihood to commit another crime is half that of offenders with one criminal

history point. See Sent’g Comm’n, Recidivism and the “First Offender,” at 13-14

(May 2004). The Court should impose the least sentence sufficient to account for

the need to protect the public, and should consider the statistically low risk of

recidivism presented by Mr. Blocker's history and characteristics.

                                     Conclusion

      A sentence of 18 months would satisfy all of the § 3553 factors. It is an

appropriate period of incarceration that will serve to further deter and rehabilitate

Mr. Blocker. He has never served time in custody before and he is highly

motivated to be a better father and avoid any incarceration in the future. The




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collateral consequences of a federal conviction will further serve as a reminder

never to put himself or his family in a situation like this again.

      Respectfully submitted, this the 12th day of March, 2018.

                                               By: /s/ Kevin A. Chastine
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                                         :
JAMES BLOCKER                            :

                        CERTIFICATE OF SERVICE

        This is to certify that I have served a copy of the following Sentencing

Memorandum, this day, upon the following, by the federal electronic filing

system delivery: Christopher Bly, Esq.

                        United States Attorney’s Office
                         Northern District of Georgia
                        75 Spring Street, S.W., 6th Floor
                              Atlanta, GA 30303

        This the 12th day of March, 2018.

                                               By: /s/ Kevin A. Chastine
                                               Kevin A. Chastine
                                               Georgia Bar No. 120203

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                                               Atlanta, GA 30309
